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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA


In Re: Oil Spill by the Oil Rig “Deepwater         *   MDL NO. 2179
Horizon” in the Gulf of Mexico, on April 20,       *
2010                                               *   SECTION J
                                                   *
This document relates to all actions.              *
                                                   *   HONORABLE CARL J.
                                                   *   BARBIER
                                                   *
                                                   *   MAGISTRATE JUDGE
                                                   *   SHUSHAN
                                                   *

Bon Secour Fisheries, Inc., et al., on behalf of   *   Civil Action No. 12-970
themselves and all others similarly situated,      *
                                                   *   SECTION J
  Plaintiffs,                                      *
                                                   *
v.                                                 *   HONORABLE CARL J.
                                                   *   BARBIER
BP Exploration & Production Inc.; BP               *
America Production Company; BP p.l.c.,             *   MAGISTRATE JUDGE
                                                   *   SHUSHAN
  Defendants.                                      *
                                                   *




                DECLARATION OF PROFESSOR A. MITCHELL POLINSKY

                                     FEBRUARY 18, 2013
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I.        QUALIFICATIONS

1.        I am the Josephine Scott Crocker Professor of Law and Economics and the Director of the
          John M. Olin Program in Law and Economics at Stanford Law School, where I have been
          a faculty member since 1979. I was previously on the faculties of the Department of
          Economics and School of Law at Harvard University. I earned an A.B. in Economics
          from Harvard University, a Ph.D. in Economics from M.I.T., and a Master of Studies in
          Law from Yale Law School.

2.        I am a founder and past president of the American Law and Economics Association, and
          currently serve as co-editor of Law and Economics Abstracts and as a member of the
          editorial boards of several professional journals in economics and law. I received a
          Guggenheim Fellowship and have been a fellow at the Center for Advanced Study of the
          Behavioral Sciences at Stanford University. I have published more than sixty articles in
          professional journals and a textbook titled An Introduction to Law and Economics. I also
          am co-editor of the Handbook of Law and Economics, a compendium of articles for
          graduate students and faculty in economics. The focus of my scholarly work is the
          economic analysis of legal issues, including the economics of damages. My curriculum
          vitae is attached as Exhibit 1 to this Declaration.

3.        I have presented lectures on the economic analysis of law in educational programs for
          state court judges and United States District Court judges. I have applied economic
          analysis in consulting work for private plaintiffs and defendants and have testified as an
          expert economist in state and federal courts. Several of my consulting assignments have
          been concerned with calculating economic losses.

II.       ASSIGNMENT

     4.   I have been asked to comment on the implementation of the Deepwater Horizon
          Economic and Property Damages Settlement, as amended on May 2, 2012 (“Settlement
          Agreement”). Specifically, I have been asked to consider the economic consequences of




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          the implementation of the Business Economic Loss Framework (“BEL Framework”)1 that
          has been proposed by Class Counsel and adopted by the Claims Administrator.2 My focus
          is on whether this approach to implementing the BEL Framework will result in claimants
          being excessively compensated for their economic losses.

III. SUMMARY OF OPINIONS

5.       The general purpose of the Business Economic Loss Framework is to make claimants
         whole for the economic losses they suffered.

6.       If compensation is based on losses in economic profits, claimants will be made whole.
         Economic profits due to a period of business activity are the revenues that are generated by
         the activity — whenever they are received — minus the expenses associated with the
         activity — whenever they are incurred. The BEL Framework is designed to measure
         losses in economic profits.

7.       If instead compensation is based on net cash received over a period of business activity —
         cash actually received during the period minus cash actually expended during the period —
         then claimants might not be accurately compensated for their economic losses. One reason
         for such inaccuracy is that revenues or costs associated with a period of business activity
         could be realized outside of the period. Another reason is that revenues or costs
         attributable to a different period could be realized during the period in question.

8.       In the circumstances of this matter, the problem of overcompensation of claimants due to
         reliance on net cash received in determining compensation is potentially great and can
         result in gross windfalls to them. There are reasons to believe that this problem is likely to




1
     Settlement Agreement, Exhibits 4A through 4E.
2
     Class Counsel Memorandum, “Request for Formal Policy Statement: Monthly Revenue,” December 16, 2012.
     See also Memorandum from BP to Claims Administrator, “BP’s Response To Class Counsel’s December 16,
     2012 Request for Policy Determination,” January 8, 2013; Memorandum from BP to Claims Administrator, “BP's
     Second Submission to Claims Administrator,” January 11, 2013; and Memorandum from Patrick A. Juneau to
     Class Counsel and BP, “Announcement of Policy Decision Regarding Claims Administration,” January 15, 2013.




                                                        2
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         apply systematically to some industries — such as construction and agriculture — but not
         to other industries — such as retailing.

9.       When it is likely that reliance on net cash received in determining compensation would
         lead to significant windfalls, compensation should be based on a methodology for
         estimating declines in economic profits. In particular, the BEL Framework should be
         interpreted so as to accomplish this end.

IV.      BACKGROUND

10.      The methodology for calculating compensation for business claimants is set out in the
         Business Economic Loss Framework of the Settlement Agreement.3 This process involves
         comparing “the actual profit of a business during a defined post-spill period in 2010 to the
         profit that the claimant might have expected to earn in the comparable post-spill period of
         2010.”4 The compensation amount bridges the difference between the measure of actual
         profits and the measure of profits that might have been expected.

11.      The BEL Framework requires a claimant to submit financial data regarding its operations,
         including information on revenue earned each month as well as on the corresponding costs
         incurred in generating that revenue.5

V.       ANALYSIS

       A.     The Purpose of the Business Economic Loss Framework is to Make Claimants
              Whole

12.      The central feature of the BEL Framework of the Settlement Agreement is, as mentioned,
         that it compensates a claimant for the difference between the claimant’s actual profits
         during a relevant post-spill period and an estimate of what the claimant’s profits would




3
    Settlement Agreement, Exhibit 4C.
4
    Settlement Agreement, Exhibit 4C, page 1.
5
    Settlement Agreement, Exhibit 4A.




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         have been in that period had the spill not occurred. Hence, use of the BEL Framework is
         designed to make claimants whole.

13.      Consideration of the economic analysis of settlement6 also supports the view that the
         compensation provisions of the BEL Framework should be interpreted in terms of making
         claimants whole. To elaborate, suppose that a plaintiff would obtain approximately $1
         million in damages if he were to go to trial. Then if the plaintiff were to demand
         substantially more than this amount in settlement — say he demanded $2 million — the
         defendant would refuse to settle since the defendant would expect to pay much less at
         trial.7 Similarly, if the defendant offered significantly less than the amount that the
         plaintiff would expect to obtain at trial, the plaintiff would refuse the offer. In other words,
         if the parties settle, they would tend to settle for an amount that is not much different from
         the amount that the plaintiff would obtain in court.

14.      The amount that courts generally award for losses in tort is that which would make the
         plaintiff whole, namely, the amount that would restore the plaintiff to the position he
         would have enjoyed if the tort had not occurred.

15.      Hence, in this matter, I would expect that the BEL Framework would be designed to make
         claimants whole. That is, I would not expect the BEL Framework to provide
         compensation that would result in substantial windfalls to claimants — it would have been
         economically irrational for BP to have consented to such an outcome.

16.      In sum, (a) the basic design of the BEL Framework supports the view that it is intended to
         make claimants whole, and (b) settlement agreements would generally be expected to
         reflect court awards, which are premised on the principle of making plaintiffs whole.




6
    Steven Shavell, Foundations of Economic Analysis of Law (Harvard University Press, 2004), pages 401-02, and
    Kathryn E. Spier, Litigation, in A. Mitchell Polinsky and Steven Shavell (Editors), Handbook of Law and
    Economics, Volume 1 (Amsterdam: North-Holland, 2007), pages 268-69.
7
    For simplicity, I abstract here from several complicating factors, including that the parties would bear litigation
    costs if they went to trial.




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        Hence, it is reasonable to conclude that the main objective of the BEL Framework is to
        compensate claimants so as to make them whole.8

       B.     Compensation Based on Losses of Economic Profits Will Make Claimants Whole

17.     I illustrate the basic point here that if compensation is based on losses of economic profits,
        claimants will be made whole.

18.     Economic profits due to a specified period of business activity are the revenues that are
        generated by the activity — whenever they are received — minus the expenses associated
        with the activity — whenever they are incurred.

19.     Suppose, for example, that a business ABC was engaged in a commercial activity during a
        defined oil-spill period of July through September of 2010 and that the activity over this
        period ultimately generated revenues of $10,000 and led to expenses of $6,000. Then
        ABC’s economic profits from its activity during July-September 2010 are $4,000.

20.     Suppose too that it is known from past financial records that ABC typically makes
        economic profits of $15,000 from its business activity during the July-September period.
        It is thus assumed that ABC would have made profits of $15,000 during July-September
        2010 if the oil spill had not occurred.

21.     Then it is patent that compensating ABC for the difference between its economic profits
        had the spill not occurred, $15,000, and its actual economic profits, $4,000, will make it
        whole. This difference of $11,000 is ABC’s economic loss as a result of the spill; and
        adding $11,000 to the $4,000 of economic profits that ABC did make would restore its
        profitability to $15,000.




8
    I recognize, of course, that in a class action payments to claimants would not perfectly match economic losses in
    every instance. Yet a settlement of a class action would not be expected to result in gross overpayments or
    windfalls to certain claimants.




                                                           5
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       C.     Compensation Based on Losses in Net Cash Received Will Often Be Inaccurate

22.      If compensation for an adverse event is based on losses in net cash received, then the
         compensation claimants receive will not necessarily equal their economic losses.

23.      Net cash received during a specified period of business activity is the cash actually
         obtained during the period minus the cash actually paid during the period.

24.      For example, suppose that ABC’s business activity during the July-September 2010 oil-
         spill period results in $10,000 in revenues that are not received until October and $6,000 in
         expenses that are incurred in the July-September period. Then ABC’s net cash received
         during this period would be negative, –$6,000, because ABC did not obtain its revenues
         during the period.

25.      Conversely, suppose ABC obtains its $10,000 in revenues during the July-September 2010
         period, but did not have to pay its $6,000 in expenses until after the period. Then ABC’s
         net cash received during the July-September period would be $10,000, because it did not
         incur its costs during the period.

26.      If losses from a tortious event are calculated based on net cash received, the injured party
         may be overcompensated — may receive a windfall. Consider the case in which ABC’s
         net cash received during the July-September 2010 oil-spill period was negative, –$6,000,
         because it did not obtain its $10,000 in revenues until October but it did incur its expenses.
         Then if economic losses are calculated on the basis of net cash received, ABC would
         appear to have suffered a $21,000 loss — the difference between its normal net cash
         received of $15,000 in years prior to the spill (assume its receipt of revenues was not
         delayed in the past) and its net cash received of –$6,000 in July-September 2010 after the
         spill.9




9
    In this example the reason for the windfall is that net cash received during the oil-spill period is inaccurate,
    unequal to economic profits due to ABC’s activity during that period. Another important reason for a windfall is
    that net cash received during a period before the oil spill could be inaccurate (for instance, because expenses
    generated by the activity in that period are delayed). For expositional convenience, I will not further mention the




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27.      Clearly, however, $10,000 of this apparent $21,000 loss is due to the delay in ABC’s
         receipt of revenues. If ABC were awarded $21,000 in compensation, because
         compensation is based on net cash received, ABC would receive a windfall of $10,000.
         This is because, as explained in ¶21 above, ABC actually suffered only an economic loss
         of $11,000.

28.      For parallel reasons, ABC would receive a windfall if, during the July-September 2010
         period, it incurred expenses that were attributable to its activities at an earlier time, say in
         January 2010. Suppose, for instance, that ABC incurred expenses of $16,000 in July-
         September that were associated with its activities in January, and $10,000 of revenues in
         July-September due to its activities in July-September. Then ABC’s net cash received
         would again be –$6,000 and it would receive a windfall of $10,000.10

29.      Finally, compensation based on net cash received could result in ABC being
         undercompensated. This could happen if ABC received its revenues during the July-
         September 2010 period but did not incur its expenses until afterwards.

30.      The root of the explanation for why basing compensation on net cash received might be
         inaccurate is straightforward: net cash received over a particular period of business
         activity might not include all of the revenues and costs attributable to the activity over that
         period; and net cash received might include some of the revenues or costs attributable to
         business activity in other periods.

        D.     Under the BEL Framework, Compensation Based on Losses in Net Cash
               Received Results in Excessive Compensation

31.      It is my understanding that the recommendation advocated by Class Counsel and employed
         by the Claims Administrator is, in effect, to base compensation for economic losses on net


     possibility of inaccurate measurement of economic profit in periods before the oil-spill periods when
     compensation is based on net cash received.
10
     In this example, ABC would be awarded compensation of $21,000, the difference between its normal net cash
     received of $15,000 in comparable periods in prior years and its net cash received of –$6,000 in July-September
     2010. Yet, as we explained in ¶21 above, its reduction in economic profit is only $11,000.




                                                            7
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        cash received when, as often happens, claimants employ cash accounting in generating
        their financial records. Hence, as I explained in the previous section, the determination of
        compensation for economic losses might be inaccurate.

32.     Furthermore, the problem of windfalls when compensation is based on net cash receipts
        appears to be substantial. According to the declaration of Dr. Hal Sider, 11 on which I rely,
        numerous claimants have obtained large windfalls, whereas few have been
        undercompensated. Three major categories of claimants for which a serious problem of
        windfalls has been found by Dr. Sider are construction, agriculture, and professional
        services.12

33.     The explanation for such windfalls, recall, is that net cash received over a designated oil-
        spill period may be less than economic profits over that period. That possibility can arise,
        for example, due to a delay in the receipt of revenues until a time after the oil-spill period.
        It is plausible that delays in the receipt of revenues frequently occur in certain industries.
        For instance, in farming, crops are often sold long after the expense of planting has been
        incurred, so that sales revenue might not be received until after a spill period.

34.     When net cash received might differ from economic profits, the optionality features of the
        BEL Framework exacerbate the windfall problem. The Framework permits claimants to
        choose various short time periods — three to eight months between May and December of
        2010 — on which to base their calculation of compensation.13 It also allows for flexibility
        in the selection of the benchmark years.14 As a consequence, a claimant can base its



11
     Declaration of Hal Sider, February 18, 2013.
12
     Declaration of Hal Sider, February 18, 2013, Section V and Table 6.
13
     Settlement Agreement, Exhibit 4C, page 1 (“Compensation Period is selected by the Claimant to include three or
     more consecutive months between May and December 2010.”).
14
     Settlement Agreement, Exhibit 4C, pages 1-2 (“The Benchmark Period is the pre-DWH Spill time period which
     the claimant chooses as the baseline for measuring its historical financial performance. The claimant can select
     among the following Benchmark Periods: 2009; the average of 2008-2009; or the average of 2007-2009,
     provided that the range of years selected by the claimant will be utilized for all Benchmark Period purposes.”).




                                                           8
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        compensation on a time period for which it would receive the highest amount given the
        pattern of its receipt of revenues and its outlays. Indeed, my understanding is that
        claimants will always benefit from such opportunities because the claims administrators’
        methodology is designed to maximize the possible compensation of claimants.15

35.     Finally, I observe that the windfall problem will not exist if net cash received reflects all
        revenues and expenses generated by business activities during the applicable oil-spill time
        periods. Hence, for many claimants, such as retail establishments that are paid
        contemporaneously with the provision of goods and services, there may be little problem
        of excessive compensation associated with the use of net cash received.

VI.     CONCLUSION

36.     I have explained why there is a potential for — and the actual existence of — seriously
        exaggerated levels of compensation of claimants when their compensation is based on net
        cash received. I have also explained why claimants will be made whole when
        compensation is based on losses of economic profits. Therefore, because making
        claimants whole is the main objective of the Business Economic Loss Framework of the
        Settlement Agreement, compensation should be based on losses of economic profits.



        I declare under penalties of perjury that the foregoing is true and correct.




        Date: February 18, 2013                                __________________________________

                                                               A. Mitchell Polinsky




15
     Exemplar PwC workbook for Claimant No.                                               The PwC workbooks
     demonstrate that the Claims Administrator’s process selects the combination of benchmark and compensation
     periods to maximize claimants’ compensation.




                                                         9
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                           Exhibit 1




                                   10
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                                       Curriculum Vitae

                                     A. Mitchell Polinsky


Home:                         Office:                       Born: February 6, 1948
900 Cottrell Way              Stanford Law School           Married: Joan Roberts, June 29,
Stanford, CA 94305            Stanford, CA 94305            1975; two children

(650) 856-6019 voice          (650) 723-0886 voice          polinsky@stanford.edu
(650) 855-9966 fax            (650) 723-3557 fax

I. EDUCATION

      1966-1970        A.B. (Economics), Harvard University

                       — magna cum laude with Highest Honors in Economics

                       — Phi Beta Kappa

                       — Allyn A. Young Prize in Economics

      1970-1973        Ph.D. (Economics), Massachusetts Institute of Technology

                       — Woodrow Wilson Foundation Honorary Fellow

                       — National Science Foundation Graduate Fellow

                       — Honorable Mention, National Tax Association-Tax Institute of
                         America Outstanding Doctoral Dissertation Awards Program

      1975-1976        M.S.L. (Master of Studies in Law), Yale Law School


II. EMPLOYMENT

      1984-            Josephine Scott Crocker Professor of Law and Economics (Law School)
                       and Professor of Economics, by courtesy (Economics Department),
                       Stanford University

      1979-            Director, John M. Olin Program in Law and Economics, Stanford Law
                       School



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     1997-1998   Fellow, Center for Advanced Study in the Behavioral Sciences, Stanford,
                 California

     1992-1993   Visiting Professor of Law and Economics (Law School), Harvard
                 University

     1985-1986   National Fellow, Domestic Studies Program, The Hoover Institution,
                 Stanford University

     1979-1984   Professor of Law (Law School) and Associate Professor of Economics
                 (Economics Department), Stanford University

     1977-1979   Assistant Professor of Economics (Economics Department) and of
                 Economics and Law (Law School), Harvard University

     1975-1977   Russell Sage Foundation Resident in Law and Social Science, Yale Law
                 School (1975-76) and Harvard Law School (1976-77)

     1973-1975   Assistant Professor of Economics (Economics Department), Harvard
                 University (on leave 1975-77)


III. ADDITIONAL PROFESSIONAL ACTIVITIES (selected)

     2001-       Member, Editorial Board, B.E. Journals of Economic Analysis & Policy

     1999-2006   Member, Editorial Board, Journal of Public Economics

     1995-       Co-Editor, Law and Economics Abstracts, Social Science Research
                 Network

     1987-       Member, Editorial Board, International Review of Law and Economics

     1987-       Advisory Editor, Journal of Risk and Uncertainty

     1983-       Member, Editorial Board, Journal of Law, Economics, & Organization

     1978-       Research Associate, Law and Economics Program, National Bureau of
                 Economic Research

     1993-1994   Fellow, John Simon Guggenheim Memorial Foundation

     1991-1994   Member, Board of Directors (1991-93), Secretary-Treasurer (1991-92),
                 Vice President (1992-93), and President (1993-94), American Law and

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                   Economics Association

     1985-1986     Principal Investigator, Grant No. SES-8510638 (“The Economic Theory
                   of Punitive Damages”), National Science Foundation

     1981-1985     Member, Editorial Advisory Board, Supreme Court Economic Review

     1980-1982     Member, Law and Social Sciences Advisory Subcommittee, National
                   Science Foundation

     1978-1981     Principal Investigator, Grant No. SOC-78-20159 (“Legal Approaches to
                   the Control of Externalities”), National Science Foundation


IV. PUBLICATIONS AND WORKING PAPERS

    “Revenue Sharing — A Critical View” (with Richard A. Musgrave), in Financing State
    and Local Governments (Boston: The Federal Reserve Bank, 1970), pp. 17-51 (also
    published as “Revenue Sharing: A Critical View,” Harvard Journal on Legislation, Vol. 8
    (1971), pp. 197-219).


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   Harold M. Hochman and George E. Peterson (Eds.), Redistribution Through Public
   Choice (New York: Columbia University Press, 1974) pp. 229-258.


   “Essays in Public Sector Economics: Central and Local,” in National Tax
   Association--Tax Institute of America, Proceedings of the Sixty-Sixth Annual Conference
   on Taxation (Columbus, Ohio: N.T.A.-T.I.A., 1974), pp. 507-522.


   “The Air Pollution and Property Value Debate” (with Steven Shavell), Review of
   Economics and Statistics, Vol. 57, No. 1 (February 1975), pp. 100-104.


   “Amenities and Property Values in a Model of an Urban Area” (with Steven Shavell),
   Journal of Public Economics, Vol. 5, No. 1-2 (January-February 1976), pp. 119-129.


   “The Demand for Housing: A Study in Specification and Grouping,” Econometrica, Vol.
   45, No. 2 (March 1977), pp. 447-461.


   “Property Values and the Benefits of Environmental Improvements: Theory and
   Measurement” (with Daniel L. Rubinfeld), in Lowdon Wingo and Alan Evans (Eds.),
   Public Economics and the Quality of Life (Baltimore: The Johns Hopkins University
   Press, 1977), pp. 154-180.


   “Amenities and Property Values in a Model of an Urban Area: A Reply” (with Steven
   Shavell), Journal of Public Economics, Vol. 9, No. 1 (February 1978), pp. 111-112.


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   Daniel L. Rubinfeld), Journal of Urban Economics, Vol. 5, No. 2 (April 1978), pp.
   241-262.


   “[Economics and Law:] Discussion,” American Economic Review: Papers and
   Proceedings, Vol. 68, No. 2 (May 1978), pp. 435-436.


   “Controlling Externalities and Protecting Entitlements: Property Right, Liability Rule, and
   Tax-Subsidy Approaches,” Journal of Legal Studies, Vol. 8, No. 1 (January 1979), pp.
   1-48.

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   “Notes on the Symmetry of Taxes and Subsidies in Pollution Control,” Canadian Journal
   of Economics, Vol. 12, No. 1 (February 1979), pp. 75-83.


   “The Demand for Housing: An Empirical Postscript,” Econometrica, Vol. 47, No. 2
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   “An Empirical Reconciliation of Micro and Grouped Estimates of the Demand for
   Housing” (with David T. Ellwood), Review of Economics and Statistics, Vol. 61, No. 2
   (May 1979), pp. 199-205.


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   Shavell), American Economic Review, Vol. 69, No. 5 (December 1979), pp. 880-891.


   “Private Versus Public Enforcement of Fines,” Journal of Legal Studies, Vol. 9, No. 1
   (January 1980), pp. 105-127.


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   and Proceedings, Vol. 70, No. 2 (May 1980), pp. 363-367.


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   Problems,” Journal of Environmental Economics and Management, Vol. 7, No. 2 (June
   1980), pp. 142-148.


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   Remedies,” Stanford Law Review, Vol. 32, No. 6 (July 1980), pp. 1075-1112.


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   (with Steven Shavell), Stanford Law Review, Vol. 33, No. 3 (February 1981), pp. 447-471.


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   An Introduction to Law and Economics (Boston: Little, Brown and Company, 1983).
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   No. 2 (June 1983), pp. 427-444.


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   Rogerson), Bell Journal of Economics, Vol. 14, No. 2 (Autumn 1983), pp. 581-589.


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   Economics, Vol. 24, No. 1 (June 1984), pp. 89-99.


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   Enforcement,” Georgetown Law Journal, Vol. 74, No. 4 (April 1986), pp. 1231-1236.


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